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Jason M. Drangel (JD 7204)
jdrangel@ipcounselors.com
Ashly E. Sands (AS 7715)
asands@ipcounselors.com
Danielle Futterman (DY 4228)
dfutterman@ipcounselors.com
Gabriela N. Nastasi
gnastasi@ipcounselors.com
Melissa J. Levine
mlevine@ipcounselors.com
EPSTEIN DRANGEL LLP
60 East 42nd Street, Suite 1250
New York, NY 10165
Telephone: (212) 292-5390
Facsimile: (212) 292-5391
Attorneys for Plaintiff
Supercell Oy

                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK


 SUPERCELL OY,
                                                             25-cv-2315 (JLR)
 Plaintiff
                                                             PRELIMINARY
 v.                                                       INJUNCTION ORDER

 ANXIZHILANGSHANGMAOYOUXI,            AUREIA,
 BAOYIMAOYI,      BHMT      TRADE,    BOPENG,
 BORDERLESSBAZAAR, BRAVE BIRD, ERETHI TOYS
 CO.,LTD, FEHIZHIFEN, FEIYIGOU, FFANTACY,
 GECHENGCLOTHING,
 GUANGZHOUGERANSHANGMAOYOUXIANGONGS
 I, GZHH LLC, HONGDONGXIANPINGCHENKEJI,
 HONGYOHE             a/k/a         TKBABEUE,
 HOUXUKAISHANGMAOYOUXIAN, HYSMT, JGTUY,
 JINZHAOYOUJIU, KDCHAOW, KEVCHE CO.,LTD,
 LIN LEI, LYNDZGS, LYRASUN TOYS&DECOR SHOP,
 PLAYLANDIA, RIDICULOUS BASTARD, SAVE
 MONEY 2 U, SHENGHU TRADING CO., LTD,
 WEIWEIGTBBVPPL,       WOEIOI,     XIANSIQING,
 XINGYISHIHUIHUIKEJIYOUXIANGONGSI,
 YINCHUANBAIFUDIANZISHANGWU a/k/a HOLIDAY
 HAVEN, YSHUAKA, YTTMSHDGA, YUYXEDC, 玉娥



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达 a/k/a YU'EDA, 王盼888 a/k/a WANG PAN 888 and 阿
震的铺子 a/k/a AH ZHEN'S SHOP,

Defendants




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                                    GLOSSARY

Term                     Definition
Plaintiff or Supercell   Supercell Oy
Oy
Defendants               Anxizhilangshangmaoyouxi, Aureia, baoyimaoyi, BHMT
                         TRADE, BOPENG, BorderlessBazaar, Brave Bird, ERETHI
                         Toys      Co.,LTD,       FehiZhiFen,      Feiyigou,       Ffantacy,
                         GeChengClothing, guangzhougeranshangmaoyouxiangongsi,
                         GZHH LLC, hongdongxianpingchenkeji, HONGYOHE a/k/a
                         TKBABEUE, houxukaishangmaoyouxian, HYSMT, JGTUY,
                         JINZHAOYOUJIU, kdchaow, KEVCHE Co.,Ltd, Lin Lei,
                         LYNDZGS, Lyrasun Toys&Decor Shop, PlayLandia,
                         Ridiculous Bastard, Save Money 2 U, Shenghu Trading Co.,
                         LTD,        WEIWEIGTBBVPPL,              woeioi,        xiansiqing,
                         xingyishihuihuikejiyouxiangongsi,
                         yinchuanbaifudianzishangwu a/k/a Holiday Haven, YSHUAka,
                         Yttmshdga, YUYXEdc, 玉娥达 a/k/a Yu'eda, 王盼888 a/k/a
                         Wang Pan 888 and 阿震的铺子 a/k/a Ah Zhen's shop
Amazon                   Amazon.com, a Seattle, Washington-based, online
                         marketplace and e-commerce platform owned by
                         Amazon.com, Inc., a Delaware corporation, that allows
                         manufacturers and other third-party merchants, like
                         Defendants, to advertise, distribute, offer for sale, sell and ship
                         their retail products, which, upon information and belief,
                         primarily originate from China, directly to consumers
                         worldwide and specifically to consumers residing in the U.S.,
                         including New York
Walmart Marketplace      Walmart.com Marketplace, a Bentonville, Arkansas-based,
                         online marketplace and e-commerce platform owned by
                         Walmart Stores, Inc., a Delaware corporation, that allows
                         manufacturers and other third-party merchants, like
                         Defendants, to advertise, distribute, offer for sale, sell and ship
                         their retail products, which, upon information and belief,
                         primarily originate from China, directly to consumers
                         worldwide and specifically to consumers residing in the U.S.,
                         including New York
Epstein Drangel          Epstein Drangel LLP, counsel for Plaintiff
New York Address         244 Madison Ave, Suite 411, New York, New York 10016
Complaint                Plaintiff’s Complaint
Application              Plaintiff’s ex parte Application for: 1) a temporary restraining
                         order; 2) an order restraining Merchant Storefronts (as defined
                         infra) and Defendants’ Assets (as defined infra) with the
                         Financial Institutions (as defined infra); 3) an order to show
                         cause why a preliminary injunction should not issue; 4) an
                         order authorizing bifurcated and alternative service and 5) an

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                        order authorizing expedited discovery
Ignatius Dec.           Declaration of Markku Ignatius in Support of Plaintiff’s
                        Application
Nastasi Dec.            Declaration of Gabriela N. Nastasi in Support of Plaintiff’s
                        Application
Brawl Stars Game        A multiplayer game that allows users to pick characters with
                        special abilities, called “Brawlers,” to battle against other
                        players using a combination of strategy and teamwork
Brawl Stars Products    A variety of products featuring characters from the Brawl Stars
                        Game using and/or sold in connection with the Brawl Stars
                        Marks, including, but not limited to, apparel, keychains,
                        stationery, accessories, backpacks, and plush toys
Brawl Stars Marks       U.S. Trademark Registration Nos.: 5,567,901 for “BRAWL
                        STARS” for a variety of goods in Classes 16, 25 and 28 and
                        6,914,997 for “BRAWL” for a variety of goods in Classes 16,
                        25 and 28
Counterfeit Products    Products bearing or used in connection with the Brawl Stars
                        Marks and/or marks that are confusingly similar to the Brawl
                        Stars Marks, and/or products in packaging and/or with
                        labeling bearing the Brawl Stars Marks and/or marks that are
                        confusingly similar to the Brawl Stars Marks, and/or products
                        that are identical or confusingly similar to the Brawl Stars
                        Products
Infringing Listings     Defendants’ listings for Counterfeit Products
User Accounts           Any and all websites and any and all accounts with online
                        marketplace platforms such as Amazon and/or Walmart
                        Marketplace, as well as any and all as yet undiscovered
                        accounts with additional online marketplace platforms held by
                        or associated with Defendants, their respective officers,
                        employees, agents, servants and all persons in active concert
                        or participation with any of them
Merchant Storefronts    Any and all User Accounts through which Defendants, their
                        respective officers, employees, agents, servants and all
                        persons in active concert or participation with any of them
                        operate storefronts to manufacture, import, export, advertise,
                        market, promote, distribute, display, offer for sale, sell and/or
                        otherwise deal in Counterfeit Products, which are held by or
                        associated with Defendants, their respective officers,
                        employees, agents, servants and all persons in active concert
                        or participation with any of them
Defendants’ Assets      Any and all money, securities or other property or assets of
                        Defendants (whether said assets are located in the U.S. or
                        abroad)
Defendants’ Financial   Any and all financial accounts associated with or utilized by
Accounts                any Defendants or any Defendants’ User Accounts or
                        Merchant Storefront(s) (whether said account is located in the

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                         U.S. or abroad)
Financial Institutions   Amazon.com, Inc., Amazon Payments, Inc. (“Amazon Pay”),
                         PayPal Inc. (“PayPal”), Walmart Pay, Payoneer Inc.
                         (“Payoneer”), and PingPong Global Solutions, Inc.
                         (“PingPong”)
Third Party Service      Online marketplace platforms, including, without limitation,
Providers                those owned and operated, directly or indirectly, by Amazon
                         and/or Walmart Marketplace, such as Amazon.com and/or
                         Walmart.com, as well as any and all as yet undiscovered
                         online marketplace platforms and/or entities through which
                         Defendants, their respective officers, employees, agents,
                         servants and all persons in active concert or participation with
                         any of them manufacture, import, export, advertise, market,
                         promote, distribute, offer for sale, sell and/or otherwise deal in
                         Counterfeit Products which are hereinafter identified as a
                         result of any order entered in this action, or otherwise
Alternative Service      (1)        guangzhougeranshangmaoyouxiangongsi;                (2)
Defendants               houxukaishangmaoyouxian; and (3) WEIWEIGTBBVPPL




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         WHERAS, Plaintiff having moved ex parte on March 20, 2025 against Defendants for the

following: 1) a temporary restraining order; 2) an order restraining Merchant Storefronts and

Defendants’ Assets with the Financial Institutions; 3) an order to show cause why a preliminary

injunction should not issue; 4) an order authorizing bifurcated and alternative service and 5) an

order authorizing expedited discovery;

         WHEREAS, April 1, 2025, entered an Order granting Plaintiff’s Application in part

(“TRO”) which, inter alia, ordered Defendants to appear on April 16, 2025 at 11:30 a.m. to show

cause why a preliminary injunction should not issue (“Show Cause Hearing”);

         WHEREAS, on April 8, 2025, Plaintiff wrote a letter to the Court requesting to modify and

extend the TRO, including the date of the Show Cause Hearing;

         WHEREAS, on April 11, 2025, the Court entered an Order granting Plaintiff’s request

which, inter alia, adjourned the Show Cause Hearing to April 25, 2025 at 11:30 a.m. (“Amended

TRO”);

         WHEREAS, on April 15, 2025, pursuant to the alternative methods of service authorized

by the TRO, Plaintiff served the Summons, Complaint, TRO, Amended TRO and all papers filed

in support of Plaintiff’s Application on each and every Defendant;

         WHEREAS, on April 25, 2025 at 11:30 a.m., Plaintiff appeared at the Show Cause

Hearing, however, none of the Defendants appeared.

         For the reasons set forth on the record at the Hearing, the Court finds that:

                PRELIMINARY FACTUAL FINDINGS & CONCLUSIONS OF LAW

         A.     Plaintiff is likely to prevail on its Lanham Act and related common law claims at

trial.




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       B.        As a result of Defendants’ infringements, Plaintiff, as well as consumers, are likely

to suffer immediate and irreparable losses, damages and injuries:

            a. Defendants have offered for sale and sold substandard Counterfeit Products in the

              United States that infringe the Brawl Stars Marks; and

            b. Plaintiff has well-founded fears that more Counterfeit Products will appear in the

              United States marketplace; that consumers may be misled, confused and disappointed

              by the quality of these Counterfeit Products, resulting in injury to Plaintiff’s

              reputation and goodwill; and that Plaintiff may suffer loss of sales for the Brawl Stars

              Products.

       C.        The balance of potential harm to Defendants of being prevented from continuing to

profit from their illegal and infringing activities if a preliminary injunction order is issued is far

outweighed by the potential harm to Plaintiff, its business, the goodwill and reputation built up in

and associated with the Brawl Stars Marks and to its reputation if the relief granted in the Amended

TRO is not continued through the pendency of this action.

       D.        Public interest favors issuance of the preliminary injunction order in order to protect

Plaintiff’s interests in and to its Brawl Stars Marks, and to protect the public from being deceived

and defrauded by Defendants’ passing off of their substandard Counterfeit Products as Brawl Stars

Products.

                                                   ORDER

   1. The injunctive relief previously granted in the Amended TRO shall remain in place through

       the pendency of this action, and issuing this Order is warranted under Federal Rule of Civil

       Procedure 65 and Section 34 of the Lanham Act.

       a) Accordingly, Defendants are hereby restrained and enjoined from engaging in any of



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   the following acts or omissions pending the final hearing and determination of this

   action or until further order of the Court:

       i. manufacturing, importing, exporting, advertising, marketing, promoting,

          distributing, displaying, making, using, offering for sale, selling and/or

          otherwise dealing in Counterfeit Products or any other products bearing the

          Brawl Stars Marks and/or marks that are confusingly similar to, identical to and

          constitute a counterfeiting or infringement of the Brawl Stars Marks;

      ii. operation of Defendants’ User Accounts and Defendants’ Merchant Storefronts

          including, without limitation, continued operation of Defendants’ User

          Accounts and Merchant Storefronts in violation of this Order;

      iii. directly or indirectly infringing in any manner Plaintiff’s Brawl Stars Marks;

      iv. using any reproduction, counterfeit, copy or colorable imitation of Plaintiff’s

          Brawl Stars Marks, to identify any goods or services not authorized by Plaintiff;

      v. using Plaintiff’s Brawl Stars Marks and/or any other marks that are confusingly

          similar to the Brawl Stars Marks, on or in connection with Defendants’

          manufacturing, importing, exporting, advertising, marketing, promoting,

          distributing, displaying, offering for sale, selling and/or otherwise dealing in

          Counterfeit Products;

      vi. using any false designation of origin or false description, or engaging in any

          action which is likely to cause confusion, cause mistake and/or to deceive

          members of the trade and/or the public as to the affiliation, connection or

          association of any product manufactured, imported, exported, advertised,

          marketed, promoted, distributed, displayed, offered for sale or sold by



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          Defendants with Plaintiff, and/or as to the origin, sponsorship or approval of

          any product manufactured, imported, exported, advertised, marketed,

          promoted, distributed, displayed, offered for sale or sold by Defendants and

          Defendants’ commercial activities and Plaintiff;

     vii. secreting, concealing, destroying, altering, selling off, transferring or otherwise

          disposing of and/or dealing with: (i) Counterfeit Products and/or (ii) any

          computer files, data, business records, documents or any other records or

          evidence relating to their User Accounts, Merchant Storefronts or Defendants’

          Assets and the manufacture, importation, exportation, advertising, marketing,

          promotion, distribution, display, offering for sale and/or sale of Counterfeit

          Products;

     viii. effecting assignments or transfers, forming new entities or associations, or

          creating and/or utilizing any other platform, User Account, Merchant Storefront

          or any other means of importation, exportation, advertising, marketing,

          promotion, distribution, display, offering for sale and/or sale of Counterfeit

          Products for the purposes of circumventing or otherwise avoiding the

          prohibitions set forth in this Order; and

      ix. knowingly instructing any other person or business entity in engaging in any of

          the activities referred to in subparagraphs 1(a)(i) through 1(a)(viii) above,

          1(b)(i) through 1(c)(i) below.

b) Accordingly, Defendants and all persons in active concert and participation with them

   who receive actual notice of this Order, including the Third Party Service Providers

   and Financial Institutions who satisfy those requirements and are identified in this



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        Order are hereby restrained and enjoined from engaging in any of the following acts or

        omissions pending the final hearing and determination of this action or until further

        order of the Court:

            i. secreting, concealing, transferring, disposing of, withdrawing, encumbering or

               paying Defendants’ Assets from or to Defendants’ Financial Accounts until

               further ordered by this Court.

   c) Accordingly, Defendants and all persons in active concert and participation with them

        who receive actual notice of this Order, including the Third Party Service Providers

        who satisfy those requirements are restrained and enjoined from engaging in any of the

        following acts or omissions pending the final hearing and determination of this action

        or until further order of the Court:

            i. operation of Defendants’ User Accounts and Defendants’ Merchant

               Storefronts, including, without limitation, continued operation of Defendants’

               User Accounts and Merchant Storefronts in violation of this Order; and

           ii. instructing, aiding or abetting Defendants and/or any person or business entity

               in engaging in any of the activities referred to in subparagraphs 1(a)(i) through

               1(a)(viii), 1(b)(i) above and 1(c)(i) above, including, without limitation, by

               providing services necessary for Defendants to continue operating Defendants’

               User Accounts and Merchant Storefronts in violation of this Order.

2. As sufficient cause has been shown, the asset restraint granted in the Amended TRO shall

   remain in place through the pendency of this litigation, including that:

   a)    within five (5) days of receipt of notice of this Order, any newly discovered Financial

         Institutions who are served with this Order shall locate and attach Defendants’



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        Financial Accounts, shall provide written confirmation of such attachment to

        Plaintiff’s counsel and provide Plaintiff’s counsel with a summary report containing

        account details for any and all such accounts, which shall include, at a minimum,

        identifying information for Defendants and Defendants’ User Accounts, contact

        information for Defendants (including mailing addresses and e-mail addresses),

        account numbers and account balances for any and all of Defendants’ Financial

        Accounts.

3. As sufficient cause has been shown, the expedited discovery previously granted in the

   Amended TRO shall remain in place through the pendency of this litigation, including that:

   a) Plaintiff may serve interrogatories pursuant to Rules 26 and 33 of the Federal Rules of

       Civil Procedure as well as Local Civil Rule 33.3 of the Local Rules for the Southern

       and Eastern Districts of New York and Defendants who are served with this Order shall

       provide written responses under oath to such interrogatories within fourteen (14) days

       of service to Plaintiff’s counsel.

   b) Plaintiff may serve requests for the production of documents pursuant to Rules 26 and

       34 of the Federal Rules of Civil Procedure and Defendants who are served with this

       Order and the requests for the production of documents shall produce all documents

       responsive to such requests within fourteen (14) days of service to Plaintiff’s counsel.

   c) Within fourteen (14) days after receiving notice of this Order, all Financial Institutions

       who receive service of this Order shall provide Plaintiff’s counsel with all documents

       and records in their possession, custody or control (whether located in the U.S. or

       abroad), relating to any and all of Defendants’ Financial Accounts, User Accounts and

       Merchant Storefronts, including, but not limited to, documents and records relating to:



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        i. account numbers;

       ii. current account balances;

      iii. any and all identifying information for Defendants, Defendants' User Accounts

           and Defendants’ Merchant Storefronts, including, but not limited to, names,

           addresses and contact information;

      iv. any and all account opening documents and records, including, but not limited

           to, account applications, signature cards, identification documents, and if a

           business entity, any and all business documents provided for the opening of

           each and every of Defendants’ Financial Accounts;

       v. any and all deposits and withdrawal during the previous year from each and

           every one of Defendants’ Financial Accounts and any and all supporting

           documentation, including, but not limited to, deposit slips, withdrawal slips,

           cancelled checks and account statements; and

      vi. any and all wire transfers into each and every of Defendants’ Financial

           Accounts during the previous year, including, but not limited to, documents

           sufficient to show the identity of the destination of the transferred funds, the

           identity of the beneficiary’s bank and the beneficiary’s account number;

 d) Within fourteen (14) days of receipt of service of this Order, the Third Party Service

    Providers shall provide to Plaintiff’s counsel all documents and records in its

    possession, custody or control (whether located in the U.S. or abroad) relating to

    Defendants’ User Accounts and Defendants’ Merchant Storefronts, including, but not

    limited to, documents and records relating to:

        i. any and all User Accounts and Defendants’ Merchant Storefronts and account



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              details, including, without limitation, identifying information and account

              numbers for any and all User Accounts and Defendants’ Merchant Storefronts

              that Defendants have ever had and/or currently maintain with the Third Party

              Service Providers that were not previously provided pursuant to Paragraph

              V(C) of the Amended TRO;

          ii. the identities, location and contact information, including any and all e-mail

              addresses of Defendants that were not previously provided pursuant to

              Paragraph V(C) of the Amended TRO;

          iii. the nature of Defendants’ businesses and operations, methods of payment,

              methods for accepting payment and any and all financial information,

              including, but not limited to, information associated with Defendants’ User

              Accounts and Defendants’ Merchant Storefronts, a full accounting of

              Defendants’ sales history and listing history under such accounts and

              Defendants’ Financial Accounts with any and all Financial Institutions

              associated with Defendants’ User Accounts and Defendants’ Merchant

              Storefronts; and

          iv. Defendants’ manufacturing, importing, exporting, advertising, marketing,

              promoting, distributing, displaying, making, using, offering for sale and/or

              selling of counterfeit Products, or any other products bearing the Brawl Stars

              Marks and/or marks that are confusingly similar to, identical to and/or

              constitute an infringement of the Brawl Stars Marks.

4. As sufficient cause has been shown, pursuant to Fed. R. Civ. P. 4(f)(3), service of this

   Order may be made on, and shall be deemed effective as to the Defendants if it is completed



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   by the following means:

    a) delivery of: (i) a PDF copy of this Order, and (ii) a link to a secure website (including

       NutStore, a large mail link created through Rmail.com or via website publication

       through   a   specific   page    dedicated    to   this   Lawsuit    accessible   through

       ipcounselorslawsuit.com) where each Defendant will be able to download a PDF copy

       of this Order, to Defendants’ e-mail addresses as identified by Amazon and Walmart

       Marketplace pursuant to Paragraph V(C) of the Amended TRO or may otherwise be

       determined.

5. As sufficient cause has been shown, such alternative service by electronic means ordered

   in the Amended TRO and herein shall be deemed effective as to the Alternative Service

   Defendants, Third Party Service Providers and Financial Institutions through the pendency

   of this action. All other Defendants must be served in accordance with the Hague

   Convention. Plaintiff shall update the Court about the status of Hague Convention service

   every three (3) months.

6. As sufficient cause has been shown, service of this Order shall be made on and deemed

   effective as to the Third Party Service Providers and Financial Institutions if it is completed

   by the following means:

    a) delivery of: (i) a PDF copy of this Order, or (ii) a link to a secure website where PayPal

        will be able to download a PDF copy of this Order via electronic mail to PayPal Legal

        Specialist at EEOMALegalSpecialist@paypal.com;

    b) delivery of: (i) a true and correct copy of this Order via Federal Express to

        Amazon.com, Inc. at Corporation Service Company 300 Deschutes Way SW, Suite

        304, Tumwater, WA 98501, (ii) a PDF copy of this Order or (iii) a link to a secure



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        website where Amazon.com, Inc. and Amazon Pay will be able to download a PDF

        copy of this Order via electronic mail to tro-notices@amazon.com and

        ostephmu@amazon.com;

    c) delivery of: (i) a PDF copy of this Order, or (iii) a link to a secure website where

        Walmart Marketplace and Walmart Pay will be able to download a PDF copy of this

        Order via electronic mail to trolegalcomms@walmartlegal.com;

    d) delivery of: (i) a PDF copy of this Order, or (ii) a link to a secure website where

        Payoneer Inc. will be able to download a PDF copy of this Order via electronic mail

        to Payoneer Inc.’s at thirdpartyrequests@payoneer.com; and

    e) delivery of: (i) a PDF copy of this Order, or (ii) a link to a secure website where

        PingPong Global Solutions Inc. will be able to download a PDF copy of this Order via

        electronic mail     to   PingPong     Global    Solutions   Inc.’s    Legal   Department

        trorequest@pingpongx.com.

7. Defendants are hereby given notice that they may be deemed to have actual notice of the

   terms of this Order and any act by them or anyone of them in violation of this Order may

   be considered and prosecuted as in contempt of this Court.

8. The $5,000.00 bond posted by Plaintiff shall remain with the Court until a final disposition

   of this case or until this Order is terminated.

9. This Order shall remain in effect during the pendency of this action, or until further order

   of the Court.




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   10. Any Defendants that are subject to this Order may appear and move to dissolve or modify

       the Order on two (2) days’ notice to Plaintiff or on shorter notice as set by the Court.


SO ORDERED.

SIGNED this 28th day of April 2025, at 9:00 a.m.
New York, New York


                                                         _________________________________
                                                         HON. JENNIFER L. ROCHON
                                                         UNITED STATES DISTRICT JUDGE




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